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and personal liberty. However Maneka Gandhi v. Union ofIndia-'-^ marked a watershed in the
history of constitutional law and Article 21 assumed a new dimension wherein the Supreme Court for
the first time took the view that Article 21 affords protection also against legislation (and notjust
executive action) and no law can deprive a person of his/her life or personal liberty unless it
prescribes a procedure which is reasonable, fair and just it would be for the court to determine
whether the procedure is reasonable, fair and just; if not, it would be struck down as invalid.
In Hussainara Khatoon's case the Apex Court, inter alia, observed that the undertrials languishing in
jail were in such a position presumably because no action application for bail had been made on their
behalf either because they were not aware oftheir right to obtain release on bail or on account oftheir
poverty they were unable to furnish bail. The present law of bail thus operates on what has been
described as a property oriented approach. Thus the need for a comprehensive and dynamic legal
service programme was left in order to revitalize the bail system and make it equitably responsive to
needs of poor prisoners and notjust the rich.
In the Indian Constitution there is no specifically enumerated constitutional right to legal aid for an
accused person. Article 22(1) does provide that no person who is arrested shall be denied the right to
consult and to be defended by legal practitioner of his choice, but according to the interpretation
 placed on this provision by the Supreme Court in Janardhan's casc^^^^ this provision does not carry
with it the right to be provided the services of legal practitioners at state cost. Also Article 39-A
introduced in 1976 enacts a mandate that the state shall provide free legal service by suitable
 legislations or schemes or any other way,to ensure that opportunities for justice are not denied to any
 citizen by reason ofeconomic or other disabilities- this however remains a Directive Principle of
 State Policy which while laying down an obligation on the State does not lay down an obligation
 enforceable in Court oflaw and does not confer a constitutional right on the accused to secure free
 legal assistance.
 However the Supreme Court filled up this constitutional gap through creative judicial interpretation of
 Article 21 following Maneka Gandhi's case. The Supreme Court held in M.H. Hoskot v. State of
 Maharashtra^-^ and Hussainara Khatoon's case that a procedure which does not make legal services
 available to an accused person who is too poor to afford a lawyer and who would,therefore go
 through the trial without legal assistance cannot be regarded as reasonable, fair and just. It is essential
 ingredient ofreasonable, fair and just procedure guaranteed under Article 21 that a prisoner who is to
 seek his liberation through the court process should have legal services made available to him.

         The right to free legal assistance is an essential element ofany reasonable, fair and just
        procedure for a person accused of an offence and it must be held implicit in the guarantee of
         Article 21.

 Thus the Supreme Court spelt out the right to legal aid in criminal proceeding within the language of
 Article 21 and held that this is....



http://www.goforthelaw.com/articles/fromlawstu/article10.htm                                  12/30/2020
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        "a constitutional right of every accused person who is unable to engage a lawyer and secure
        legal services on account ofreasons such as poverty, indigence or incommunicado situation
        and the State is under a mandate to provide a lawyer to an accused person if the circumstances
        ofthe case and the needs ofjustice so require, provided of course the accused person does not
        object to the provision ofsuch lawyer."


            RIGHT TO BAIL(SECTION 167(2) CR.P.O AND DELAY IN
                                         INVESTIGATION


With the incorporation ofsection 167(2) Cr.P.C. the investigating agency is required to complete the
job of investigation and file the charge-sheet within the time limit of either 60 or 90 days as the case
may be. In case the above is not completed within the definite period a most valuable right accrues to
the accused. The accused is, in that eventuality, entitled to be released on bail.
It would be seen that the whole object of providing for a prescribed time limit under section 167(2)
Cr.P.C. to the investigation agency to complete the investigation was that the accused should receive
expeditions treatments at the hands ofthe criminal justice system, as it is implicit in Article 21 that
every accused has right to an expeditions disposable of his case. Section 167 has been criticized^^
 with respect to the fact that the prescribed time limit relates only to the investigation aspect and does
 not touch other segments ofthe criminal-justice-system, thus the object(ofspeedy trial), behind
 section 167 stands finstrated. Moreover section 167(2)is seen to paradoxically serve as a way of grant
of liberty to some dangerous criminals who would otherwise not be able to get it under our system
(for example they may not be otherwise entitled to bail by virtue ofnature and gravity ofoffence.)
thus the utility of section 167 Cr.P.C. may be thus questioned in the light of above, as to whether it
really serves the purpose enshrined in Article 21 ofthe Constitution, particularly in the light of
viewing the criminal justice system as whole not confined solely to investigation- it therefore follows
that to achieve the right to speedy trial (as enshrined in section 163(2) Cr.P.C.) it is important to
overhaul the system in its entirety and not parts ofthe system in isolation.

                                           CONCLUSION


This paper has attempted to explore the various dimensions ofthe RIGHT TO BAIL within the
constitutional framework. It is of prime significance to note that the very concept of bail arises from a
presumption, ofthe accusatorial system, of'innocent till proven guilty.' As such an individual's
personal liberty which is a fundamental right under Article 21 ofthe Constitution, cannot be
compromised until he/she is convicted and thus proven guilty. Thus he/she is allowed to furnish




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